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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                  Plaintiff,

         v.                                              Case No. 11-cr-40029-JPG-9

 CHARLES A. WILLIAMS,
 also known as Spot,

                  Defendant.

                                MEMORANDUM AND ORDER

        This matter comes before the Court on Defendant Charles Williams’ Motion for

Medical Examination (Doc. 138), which the Court construes as a motion for examination of

Williams and a determination of his competency to stand trial pursuant to 18 U.S.C. § 4241.

The Court finds there is reasonable cause to believe that Williams may presently be suffering

from a mental or physical disease or defect rendering him incompetent to the extent that he is

unable to understand the nature and consequences of the proceedings against him or to assist

properly in his defense. Being fully advised of the premises, the Court GRANTS the instant

motion (Doc. 138) insofar as it requests an examination to determine Williams’ competency

to stand trial.

        The Court ORDERS that, pursuant to 18 U.S.C. § 4247(b), Williams be committed to

the custody of the Attorney General for a period not to exceed 30 days for placement in a

suitable facility. It is further ordered that, pursuant to 18 U.S.C. § 4247(b), a psychiatric or

psychological examination of Williams be conducted by a licensed or certified psychiatrist or

psychologist. The examination shall be completed within 30 days, providing, however, that

the director of the facility may apply for a reasonable extension of the period of custody of
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the Attorney General, but not to exceed fifteen days, upon a showing of good cause that the

additional time is necessary to observe and evaluate Williams. A psychiatric or

psychological report, or both, shall be filed with this Court in accordance with 18 U.S.C. §

4247(b) and (c), with copies to counsel, which shall include:

       (1) Williams’ history and present symptoms;

       (2) a description of the psychiatric, psychological, and medical tests that were
       employed and their results;

       (3) the examiner’s findings; and

       (4) the examiner’s opinions as to diagnosis, prognosis and whether Williams is
       suffering from a mental disease or defect rendering him mentally incompetent
       to the extent that he is unable to understand the nature and consequences of the
       proceedings against him or to assist properly in his defense.

It is further ordered that a medical examination of Williams be performed. The examining

physician’s report should indicate to the Court any physical impairment or malady that

renders Williams unable to understand the nature and consequences of the proceedings

against him or to assist properly in his defense.

       Upon notification by the Bureau of Prisons of Williams’ designation for examination,

the United States Marshal shall transport him immediately to the institution designated by the

Bureau of Prisons and upon completion of the examination, return him to the Southern

District of Illinois for a hearing which shall be scheduled after the Court receives the

examiner’s report in accordance with 18 U.S.C. § 4247(d).

       The 30 days allowed for the examination shall begin on the day Williams is physically

present at the designated institution and any request for an extension of this period shall be

made not less that 10 days prior to the expiration of the initial 30-day period.

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       Finally, the Court notes that Williams and the public’s right to a speedy trial shall be

tolled during his transportation to and from the abovementioned facility. 18 U.S.C. §

3161(h)(1)(F) (2006). Likewise, Williams and the public’s right to a speedy trial shall be

tolled during his evaluation and treatment at said facility. Id. § 3161(h)(1)(A).

IT IS SO ORDERED.
DATED: June 20, 2011
                                                                   s/ J. Phil Gilbert
                                                                   J. PHIL GILBERT
                                                                   DISTRICT JUDGE




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